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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

              Plaintiff,
                                                    CIVIL ACTION NO. 1:19-cv-00559-RP
      v.

   RESIDEO TECHNOLOGIES, INC.,

              Defendant.


             NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Rothschild Broadcast Distribution Systems, LLC hereby

voluntarily dismisses this action against Resideo Technologies, Inc., with prejudice, pursuant

to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.

Dated: August 23, 2019                      Respectfully submitted,

                                            /s/ Jay Johnson
                                            JAY JOHNSON
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                                            D. BRADLEY KIZZIA
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                                            ATTORNEYS FOR PLAINTIFF
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SO ORDERED, this ___________ day of ________________, 2019.


                                             ____________________________________
                                             Judge - United States District Court


                                CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system on August 23, 2019.

                                             /s/Jay Johnson
                                             JAY JOHNSON
